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DALLAS DlVlSlON

UN|TED STATES BANKRUPTCY COURT
NORTHERN DlSTRICT OF TEXAS

Vo|untary Petition

 

 

Name of Debtor (if individuall enter Last, First, Middle):
Cosme, Raymond R.

Name of Joint Debtor (Spouse} (Lastl First, Midd|e):

 

Al| Other Names used by the Debtor in the last 8 years
(include marriedl maidenl and trade names):

All Other Names used by the Joint Debtor in the last B years
(include married, maiden, and trade names):

 

Last four digits of Soc. Sec.lComplete ElN or other Tax l.Di No. (if more
than one, state all):
xxx-xx-7634

Last four digits of Soc. Sec.fComplete ElN or other Ta)c l.D. No. (if more
than one, state atl):

 

Street Address of Debtor (No. & Streetl City, and State):
2025 Hi||croft
Rockwa||, TX

 

 

Stteet Address ofJoint Debtor(No. 81 Street. City. and State}t

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Filing Fee (Check one box}
g Fuu Filing Fee attached
|:l

Filing Fee to be paid in installments (Applicable to individuals only)

Must attach signed application for the courts consideration certifying that the
debtor is unable to pay fee except in installments Rule 1005(1)), See Otticia|
Form 3A.

m Filing Fee waiver requested (App|icabte to chapter ? individuals only). Must
attach signed application for the court's consideration See Ol‘ticial Form 3B.

 

Z|F'CODE Z|PCODE
75087
County of Residence or of the Principal Place of Business: County of Residence or of the Principa| Place of Eiusiness:
Rockwall
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address}:
Z|PCODE Z|PCODE
Location of Principal Assets of Business Debtor (if different from street address above):
Z|PCODE
Type of Debtor (Form of Organization) Nature of Business Chapter of Bankruptcy Code Under Which
(Check one box.) (Check all applicable boxes.) the Petition is Filed (Chec|< One box)
g individual (lncludes Joint Debtors) m Heanh Care Business m C m f R
‘ ' Cha ter 7 ha ter 11 Cha ter 15 Pelition or eeo nition
m Corpolation (lncludes LLC and LLP) g Sing|e Asset Rea| Estate as damned 11 9 p cfa tl):oreign Main Proceedingg
m Partnership in 11 U.S.C. § 101(51B) l:l Chapter§ m Chapter 12
m Other (if debtor is not one of the above m Rai|road n Chapte"13 m tha';ter ?5 p;tmon forPRecogg::on
entities. check this box and provide the n 3 kb k ° a °r°'g" °"ma'" r°cee g
information requested below.) too m er
gate type ofenmy; l:l Commodity Broker Nature of Deth (Check one box)
|:l Ctearing Bank m ConsumerfNon-Etusiness Busi'ness
m Nonprofit Organization qualitied
under 15 u.s.c. § 501(¢)(3) Chapfe" 11 Debt°"~°'
Check one box:

m Debtor is a small business debtor as delined by 11 U.S.C, § 101 (51D).
m Debtor is not a small business debtor as defined in 11 U.S.C. § 101(510).

 

Check if:

[:] Debtor's aggregate noncontigent liquidated debts owed to non-insiders or
affiliates are less than $2 million.

 

 

 

 

 

StatisticallAdministrative information TH|S SPACE lS FOR COURT USE ONL¥
m Debtor estimates that funds will be available for distribution to unsecured creditors.
Debtor estimates that alter any exempt property is excluded and administrative expenses paid.
there will be no funds available for distribution to unsecured creditors.
Estimated Number
Of Crednors 1- 50- 100- 200- 1.000- 5,001- 10.001~ 25,001- 50.001- DVER
49 99 199 999 5,000 10,0{]0 25.900 50,000 100,000 100,000

Estimated Assets

$0 to $50.001 to $100.001 to $500,001 to $1,000,001 to $10.000.001 to $50,000,001 to More than
$50.000 $100.000 $500,000 $1 million $10 million $50 million $100 million $100 million

|I| |_`.l l:| l:l lI| l:l l:l
Estimated Debts

$D to $50.001 to $100.001 to $500,001 to $1,000,001 to $10,000,001 to $50.000.001 to Morethan
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million

l:l |`_'l |:l E| l:l lI| lIl

 

 

Computer Software provided by Legai'PRO Systems, fnc., San Antonio, Texas (210) 561-5300, Copyn'ght 1996-2006 (Bui`ld 7.5.5.19, fD 0093774455)

 

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torriciai Form 11 (10/05)

FORM B1, Page 2

 

Vo|untary Petition
(This page must be completed and filed in every case)

Name ofoebtor(s); Raymond R. Cosme

 

Prior Bankruptcy Case Filed Within Last 8 Years

(lf more than two, attach additional sheet)

 

Location Where Filed:

Case Number: Date Filed:

 

 

Location Where Filed:

Case Number: Date Filed:

 

Pending Bankruptcy Case Filed by any Spouse, Partner or

Affiliate of this Debtor (|f more than one, attach additional sheet)

 

 

 

 

(To be completed if debtor is required to file periodic reports (e.g.. forms 10K and
1OQ) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
of the Securities Exchange Act of 1934 and is requesting relief under chapter 114)

n Exhibit A is attached and made a part of this petition

Name of Debtor: Case Number: Date Filed:
Cocina Caliente - Rosemeade Ltd. 06-31206 3I24l2006
District: Relationship: Judge;
N.D. Texas Affiliate

Exhibit A Exhibit B

(`|'o be completed if debtor is an individual

whose debts are primarily consumer debts.)
lt the attorney for the petitioner named in the foregoing pelition, declare that l have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
of title 1 1. United States Code, and have explained the relief available under each
such chapter
l further certify that | delivered to the debtor the notice required by § 342(b) of the
Bankruptcy Code.

X

 

Date

 

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to
pose a threat of imminent and identifiable harm to public health or safem

m Yesx and Exhibit C is attached and made a part of this petition

MNO

Certit"ication Concerning Debt Counseling
by |ndividua|lJoint Debtor(s)

|/we have received approved budget and credit counseling during the 180-day
period preceding the n|ing of this petition

|/we request a waiver of the requirement to obtain budget and credit counseling
prior to nling based on exigent circumstances (Must attach certifcation
describingr)

E]
|:|

 

 

|nformation Regarding the Debtor (Check the App|icab|e Boxes)

Venue (Check any applicable box)

|Z] Debtor has been domiciled or has had a residence. principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

There is a bankruptcy case concerning debtor's affiliale, general partner, or partnership pending in this District.

Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
principal place of business or assets in the United States but is a defendant in an action or proceeding (in a federal or state court) in this District,
or the interests of the parties Wi|| be served in regard to the relief sought in this Districtr

 

Statement by a Debtor Who Resides as a Tenant of Residentia| Property
Check all applicable boxes

Land|ord has a judgment against the debtor for possession of debtor‘s residence (|f box checked. complete the following.)

Name of landlord that obtained judgment
Address of |and|ord:

Debtor claims that under applicable nonbankruptcy |aw. there are circumstances under which the debtor would be permitted to cure the entire
monetary default that gave rise to the judgment for possession after the judgment for possession was entered, and

Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
petition.

 

 

 

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Voluntary Petition
(Thi's page must be completed and filed in every case)

Name ofoeblor(s); Raymond R. Cosme

 

Signatu res

 

Signature(s) of Debtor(s) (|ndividua|lJoint)
l dectare under penalty of perjury that the information provided in this petition is
true and correct
[lf petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] lam aware that l may proceed under chapter 7.
11l 12 or 13 of title 111 United States Code, understand the relief available under
each such chapter, and choose to proceed under chapter 7.
[lf no attorney represents n‘le and no bankruptcy petition preparer signs the
petition] l have obtained and read the notice required by § 342(b) ofthe
Bankruptcy Code.

l request relief in

cordance with the chapter Of title 11, United States Code,
specified in this "

   

Raymond iii Cosme

 

X

 

Telephone umb (|f not represented by an attorney)

327¢

 

Signature of a Foreign Represantative

ldec|are under penalty of perjurythatthe information provided in this petition is true
and correct, that l am the foreign representative ofa debtor in a foreign proceeding,
and that l am authorized to nle this petition.

(Check only one box.)

m l request relief in accordance with chapter 15 of title 11 , United States Code,
Certilied copies of the documents required by § 1515 of title 11 are attached.

|:| Pursuant to § 1511 of title 11. United States Code, l request relief in accordance
with the chapter of title 11 specified in this petitionl A certified copy of the
Order granting recognition Of the foreign main proceeding is attached

X

 

(Signatl.lre of Foreign Representative)

 

(Printed Name of Foreign Representative)

 

(Date)

 

Date ,/1 , /
rney

x /1’\~) gman

How§rd Marc Spector Bar No. 00785023

Howard Marc Spector, P.C.
12770 Coit Road

 

Suite 1100
Dallas, TX 75251
Phone No_[§ 14 3 5-5377 Fax No.1214[ 237~3380
o 2\1 1 0 ii
Date `

 

Signature of Non-Ai:torney Petition Preparer
l declare under penalty of perjury that: 1) lam a bankruptcy petition preparer as
delined in 11 U.S.C. § 110; 2) l prepared this document for compensation and
have provided the debtor with a copy ofthis document and the notices and
information required under 11 U.S.C. §§ 110{b). 110(h), and 342(b); and` 3) ifrules
or guidelines have been promulgated pursuant to 11 U.S.C‘ § 110 setting a
maximum fee for services chargeable by bankruptcy petition preparers, l have
given the debtor notice of the maximum amount before preparing any document
for nling for a debtor or accepting any fee from the debtor, as required in that
section. Ofncial Form 198 is attached.

 

 

Signature of Debtor (Corporatioanartnership}

ldec|are under penalty of perjurythat the information provided in this petition is
true and correct, and thatl have been authorized to tile this petition on behalf of
the debtor.

The debtor requests relief in accordance with the chapter oftit|e 11, United States
Code. specified in this petition.

X

 

 

Printed Name of Authorized individual

 

Tit|e of Authorized individual

 

Date

 

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social Security number (|f the bankruptcy petition preparer is nolan individuall
state the Social Security number ofthe ofhcerl principall responsible person or
partner of the bankruptcy petition preparer.) (Required by 11 U.S.C‘ § 110.}

 

Address

X

 

 

Date

Signature of Bankruptcy Petiton Preparer or orticer. principa|, responsible person, or
partner whose social security number is provided above.

Names and Social Security numbers of all other individuals who prepared or
assisted in preparing this document unless the bankruptcy petition preparer is not
an individua|:

lf more than one person prepared this document attach additional sheets
conforming to the appropriate ofncial form foreach person

A bankruptcy petition preparers failure to comply with the provisions of title 11
and the Federa| Rules of Bankruptcy Procedure may result in fines or
imprisonment or both (11 U.S.C.§110; 18 U.S.C.§156).

 

 

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NORTHERN DlSTRlCT OF TEXAS
DALLAS DlVlSlON

|N RE: Raymond R. Cosme CASE NO

CHAPTER 7

vERlFchTloN oF cREoiToR MATRL

The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her

knowledge
cal/viles Signature MM gee/raw

Date
Raymond R. q§tsme

Date Sig nature

 

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Allied Interstate
Collection Division
3200 North Line
Greensboro, NC 2?408

Amberton University Financial
1700 Eastgate Drive
Garland, TX 75041

Amerioan General Finance
3220 Gus Thomasson Road
Suite 241

Mesquite, Texas 75150

AmeriCredit
P.O. BOX 183593
Arlington, TX 76096

AOL
P.O. Box 29593
New York, NY 10087

Atmos Energy
P.O. Box 650654
Dallas, TX 75265

Baylor Hospital
3500 GaStOn Avenue
Dallas, Texas 15246

Bocanegra, Juan
9459 Dale Glade
Dallas, TX 75217

Burns, Dennis Franklin
2331 Boardwalk
Mesquite, TX 75150

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C Tech, InC.
602 N. First Street
Garland, TX 75040

Can Do Grease Trap
P.O. Box 710186
Dallas, TX 75371

Carrollton/Farmers Branch ISD
P.O. Box 110611
Carrollton, TX 75011-0611

Cingular Wireless
P.O. Box 650553
Dallas, TX 75265-0553

Cinqular Wireless
P.O. Box 650574
Dallas, TX 75265-05?4

Cinqular Wireless
P.O. BOX 6444
Carol Stream, IL 60197

City Of Dallas
Special Collections
P. O. Box 139076
Dallas, Texas T5313

City Of Rowlett
4000 Main Street
Rowlett, Texas 75089

Clipper Magazine
3708 Hempland Road
Mountainview, PA 17554

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Cooa Cola
P.O. BOX 840232
Dallas, TX 75284-0232

Commercial Recovery Systems, Inc.
PO Box 49421
Minneapolis, MN 55449

Comptroller of Public Acoounts

State Comptroller Of Public Accounts
Revenue Accounting Div - Bankrutpcy Sect
P.O. Box 13528

AuStin, Texas 78711

Cooper Clinic
1220 Preston Rd.
Dallas, TX 15230

Cosme, Frances
9978 Constance
Dallas, TX 75220

Credit Protection Assoication
P.O. Box 650210
Dallas, TX 75265

Dallas County Community College
Records Building

500 Elm Street

Dallas, Texas 75202-3504

Dallas County Tax ASSeSsor/Collector
PO BOX 620088
Dallas, TX 75262-0088

Dallas Emergency Physicians
Boyajian Law Offioes

201 Rt 17, North 5th Street Fl
Rutherford, NJ 0?070

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Dallas Emergency Physicians
P. O. Box 41633
Philadelphia, PA 19101-1633

Dallas ISD

500 Elm Street
Records Building
Dallas, TX 75202-3504

Denton County Tax Aseessor
P.O. Box 90223
Denton, TX 76202

Direct TV
P.O. BOX 60036
Los Angelea, CA 90060

Dr.'e Shepard & Shepard
2022 E Harrison
Harlingen, TX

Drive Financial
P.O. Box 5737
Carol Stream, IL 60197

Entravision Radio ~ Dallas/Ft. Worth
5307 E. Mockingbird Lane

Suite 500

Dallas, TX 75206

Esurance

National Service Bureau
P.O. Box 55789

Seattle, WA 98155-0789

First Card Visa
P.O. Box 524?
Rockford, IL 61125

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Ford Motor Credit
P.O. Box 152271
lrving, TX 75015

Frances Cosme
9978 Constance Street
Dallas, TX 75220

Garland ISD
P.O. BOX 461407
Garland, TX 75046

Health Texae Medical Provider
3434 Swiss Avenue.

Ste. 201

Dallas, TX 75204

Homecomings Financial
2711 N. Haskell Avenue, Ste 900
Dallas, TX 75204

Household Bank
P.O. Box 15521
Wilmington, DE 19850

Internal Revenue Service

Attn: Nancy Smith

4050 Alpha Road, Bth Fl.

5508 NWSAT

Farmers Branch, TX 75244

IRS
Memphis, TN

IRS

Special Procedure Staff
Mail Code 5020~DAL

1100 Commerce Street
Dallas, TX 75242

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Juan Bocanegra

c/o Jacob S. Ginsberg
4502 W. Lovers Ln.
Dallas, TX 75209

KMG Marketing
16200 Addison Road
Suite 275

Addison, TX 15001

Lake Pointe Medical Center
PO BOX 309
Rockwall, TX 75087~0309

Lake Pointe Medical Center
25210 Crenshaw Blvd
Torrance CA 90505

Linebarger, Gogqan, Blair & Sampson
Univision Center, Suite 1600

2323 Bryan Street

Dallas, TX 75201-2611

MCCreary, Veselka, Bragg & Allen
Attorneys At Law

300 E. MCKinney Street, Ste B
Denton, TX 76201-4232

MCM
P. O. Box 939019
San Diego, CA 92193

Merchant'e Credit Guide
223 W. Jackson Blvd.
ChiCagO, lllinois 60606

Mesquite Fire Dept
P. O. Box 850137
Mesquite, TX 75185

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Metroplex Filter Servicee Ltd.
P.O. Box 185487
Fort Worth, TX 76181

Murphy-Martin Recovery
306 E. Tyler Street
Suite 400

Tampa, FL 33602

North Texas Heart Center
P.O. BOx 4829

LB 1045

Houston, TX 77210

Owens, Clary & Aiken, LLP
100 N. Pearl Street, Ste 1600
Dallas, TX 75201

Parkland Hospital
Records Building
500 Elm Street

Dallas, TX 75205

Peter De La Cerda

Office Of the City Attorney
City Of Dallas

2014 Main Street, Rm 206
Dallas, TX 75201

Quill Corporation
P.O. Box 94081
Palatine, IL 60094-4081

R S Clark & ASSOCiateS
P. O. BOX 39()62
Dallas, TX 75238-0062

Salvatore Spinnelli
535 Broad Hollow Rd
Suite AZ-A

Melville, NY 1174?

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SBC
P.O. BOX 650661
Dallas, TX 75265-0661

Southwest Credit Systems,LP
5910 W Plano Parkway

Suite 100

Plano, TX

State of Texas
County Of Dallas

P. O. Box 139066
Dallas, TX 75313-9066

Terminix
3900 Willow Avenue
Suite 130
Dallas, TX 75226

Texas Cash Register
11332 Mathis
Dallas, TX 75229

Texas Comptroller
111 E. 17th Street
Austin, TX 78774-0100

Texas Diagnostic Imaging
P. O. Box 911857
Dallas, TX 75391~1851

Texas Workforce Commission
TEC Building - Bankruptcy
101 East 15th Street
Austin, Texas 78778

Thomas Hine, LLP

Attorneys At Law

1920 N. Street, N.W.
Washington, D.C. 20036-1600

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Trinity Medical Center
2401 Internet Blvd., Ste 110
Frisoo, TX 75034

TRS Recovery Services
5251 Westheimer
Houston, TX 77056

TRS Recovery Services, Inc.
P.O. Box 60022
City of Industry, CA 91716~0022

TXU Energy
P.O. Box 100001
Dallas, TX 75310-0001

TXU Energy

Attn: Correspondence
P. O. Box 66288
Dallas, TX 75266-2888

U.S. Food Service
P.O. Box 043202
Dallas, TX 75284~3202

United Merchant Supplies
236 Main Street, Suite 304
Madison, NJ 01940

United States Trustee
1100 Commerce Street
Room 9C60

Dallas, Texas 75242

Urgent Surgery ASSOC. PA
3409 Worth St # 640
Dallas, TX

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Verizon
PO Box 920041
DallaS, TX 75392

Waste Management
P.O. BOX 276
Lewisville, TX 75067

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NORTHERN DlSTRlCT OF TEXAS
DALLAS DlVlS|ON

IN RE: Raymond R. Cosme CASE NO

CHAPTER 7

DlSCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 201€5(b)l | certify that | am the attorney for the above-named debtor(s) and
that compensation paid to me within one year before the filing of the petition in bankruptcyl or agreed to be paid to me, for
services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
is as fo_|iows:

_x

For legal services, | have agreed to accept $1,500.00
Prior to the niing of this statement l have received: $1,500.00
Baiance Due: $0.00

2. The source of the compensation paid to me was:
Debtor |:| Other (specify)

3. The source of compensation to be paid to me is:
Debtor |:j Other (specify)

4- | have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law flrrn.

[_'_] l have agreed to share the above-disclosed compensation with another person or persons who are not members or
associates of my law tirm. A copy of the agreement together with a list of the names of the people sharing in the
compensation, is attached

(.!'l

~ in return for the above-disclosed fee, | have agreed to render legal service for ali aspects of the bankruptcy case, inciuding:
a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to tile a petition in
bankruptcy;

b. Preparation and filing of any petition, schedulesl statements of affairs and plan which may be required;
c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

 

CERT|F|CAT|ON

i certify that the foregoing is a complete statement of an agreement or arrangeme tfor payment to me for
representatiori of the d btor(s) in this bankruptcy proceerin _ S/

”) w op
" bare

 

Hov.iard Marc Spector Bar No. 00785023
Howard Marc Spector, P.C.

12770 Coit Road

Suite 1100

Da||as, TX 75251

Phone: (214) 365-5377 l Fax: (214) 237-3380

 

 

 

W@W\

k
Raymond R. Cosr#e

irs ramey Dir~iniiirrass~rsadceerss1020 Page 16 Of 17

NORTHERN DlSTRlCT OF TEXAS
DALLAS DlV|SlON

|N RE: Raymond R. Cosme

NOT|CE TO lND|VlDUAL CONSUMER DEBTOR(S) UNDER § 342(b)
OF THE BANKRUPTCY CODE

in accordance with § 342(b) of the Bankruptcy Code, this notice: ('l) Descrlbes briefly the services available from credit
counseling services; (2) Describes briefly the purposes benefits and costs of the four types of bankruptcy proceedings you may
commence; and (3) informs you about bankruptcy crimes and notifies you that the Attorney General may examine all information
you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not easily
described Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you decide to
file a petition Court employees cannot give you legal advice

1. Services Avai|able from Credit Counseling Agencies

With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis The briefing must be given within 180 days BEFORE the bankruptcy E|ing. The
briefing may be provided individually or in a group (inc|uding briefings conducted by telephone or on the lnternet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.

The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies

|n addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses

2. The Four Chagters of the Bankruptcy Code Avai|able to individual Consumer Debtors

Chagter 7: Liquidation ($220 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $274)

1. Chapter 7 is designed for debtors in financial difhculty Who do not have the ability to pay their existing debts Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. if your income is greater than the median income for your state of residence and family size, in
some cases creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. lt
is up to the court to decide whether the case should be dismissed

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors

3_ The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts lf, howeverl you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Codel the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated

4_ Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most finesl penalties forfeitures and criminal restitution obligations; certain debts which are not

properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vesse|, or
aircraft while intoxicated from alcohol or drugs Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary dutyl
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged

Chagter 13: Repayment of A|l or Part of the Debts of an individual with Regu|ar income
($150 filing fee, $39 administrative fee: Tota| fee $189)

1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

2. Under Chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings The period allowed by the court to repay your debts may be three years or five years,' depending upon your
income and other factors The court must approve your plan before it can take effect

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NORTHERN DlSTRlCT OF TEXAS
DALLAS DlVlSlON

lN RE: Raymond R. Cosme

NOT|CE TO |NDiVlDUAL CONSUMER DEBTOR(S) UNDER § 342(b)
OF THE BANKRUPTCY CODE

3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal lines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personai injury; and certain long term secured obligations

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors its provisions are quite
complicatedl and any decision by an individual to file a chapter ‘l‘l petition should be reviewed with an attorney

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation

3. Bankrgchv Crimes and Avai|abilitv of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney Generai acting through the Office of the
United States Trustee, the Ofnce of the United States Attorney, and other components and employees of the Department of
Jusuce.

WARN|NG: Section 521 (a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditorsl
assets, liabilities, income, expenses and general financial condition Your bankruptcy case may be dismissed if this

information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rulesl and the local
rules of the court.

Certiticate of the Debtor

l (We). the debtor(S), aflirm that l (we) have received and read this notice W
Raymond R. Cosme X . &M& 3/;9/%¢

Signature of Deb'tor Date

 

Printed Name(s) of Debtor(s) x

Case No. (if known) Signature of Joint Debtor (if any) Date

 

